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                                                                                                           UNITED STATES DISTRICT COURT
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GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                         11
                                                                                                                WESTERN DIVISION
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




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       & MACHTINGER LLP




                                                                              FIFTY-SIX HOPE ROAD MUSIC                  Case No. 2:16-cv-05810-SVW-MRW
                                                                         13   LIMITED, a Bahamian corporation, and
                                                                              HOPE ROAD MERCHANDISING,                   [Assigned to:
                                                                         14   LLC, a Florida limited liability            Hon. Stephen V. Wilson]
                                                                              company,
                                                                         15                                              FINAL JUDGMENT
                                                                                                 Plaintiffs,
                                                                         16
                                                                         17
                                                                              v.                                            JS-6
                                                                              JAMMIN JAVA CORPORATION, a
                                                                         18   Nevada corporation, and DOES 1-10,
                                                                         19                      Defendants.
                                                                         20            On September 20, 2016, Plaintiffs Fifty-Six Hope Road Music Limited
                                                                         21   (“56HR”) and Hope Road Merchandising, LLC (“HRM”) (collectively “Plaintiffs”)
                                                                         22   filed their First Amended Complaint against Defendant Jammin Java Corporation
                                                                         23   (“JJ”) for Breach of Contract as to the parties’ Long and Short Term Licenses,
                                                                         24   Declaratory Relief as to the parties’ Long and Short Term Licenses, Interference
                                                                         25   with Prospective Economic Advantage, Trademark Infringement, Accounting,
                                                                         26   Fraud-Misrepresentation, and Indemnification.
                                                                         27            On September 26, 2016, Defendant JJ filed its Answer and Counterclaims
                                                                         28
                                                                                                                                      [PROPOSED] FINAL JUDGMENT
                                                                              28219-00007/2806287.2
                                                 Case 2:16-cv-05810-SVW-MRW Document 148 Filed 06/08/17 Page 2 of 3 Page ID #:2562



                                                                         1    against Plaintiffs and Third-Party Complaint against Rohan Marley.
                                                                         2             On November 22, 2016, Defendant JJ filed its Third Amended Counterclaims
                                                                         3    against Plaintiffs.
                                                                         4             On December 12, 2016, Plaintiffs filed a Motion for Partial Summary
                                                                         5    Judgment as to Plaintiffs’ First and Third Claims for Relief and Defendant JJ’s First
                                                                         6    through Sixth and Ninth Counterclaims for Relief. The hearing on that Motion was
                                                                         7    held before the Honorable Stephen V. Wilson, United States District Court Judge,
                                                                         8    presiding, on January 23, 2017.
                                                                         9             The Court, in an Order dated January 25, 2017 (Dkt. No. 97), granted
                                                                         10   Plaintiffs’ Motion for Partial Summary Judgment with respect to Plaintiffs’ First
GREENBERG GLUSKER FIELDS CLAMAN




                                                                         11   and Third Claims for Relief, as well as with respect to Defendant’s First, Second,
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12   Third, and Fourth Counterclaims.
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                                                                         13            On February 3, 2017, Defendant JJ filed a Motion for Voluntary Dismissal of
                                                                         14   Defendant’s Counterclaims. The hearing on that Motion was held before the
                                                                         15   Honorable Stephen V. Wilson, United States District Court Judge, presiding, on
                                                                         16   February 15, 2017.
                                                                         17            The Court, in an Order dated February 15, 2017 (Dkt. No. 118), dismissed all
                                                                         18   of Defendant JJ’s Counterclaims with prejudice.
                                                                         19            On February 10, 2017, Plaintiffs filed a second Motion for Partial Summary
                                                                         20   Judgment as to Plaintiffs’ Second and Fourth Claims for Relief. The hearing on
                                                                         21   that Motion was held before the Honorable Stephen V. Wilson, United States
                                                                         22   District Court Judge, presiding, on February 15, 2017.
                                                                         23            The Court, in an Order dated February 22, 2017 (Dkt. No. 122), granted
                                                                         24   Plaintiffs’ second Motion for Partial Summary Judgment in its entirety.
                                                                         25            Pursuant to the Court’s Order of February 21, 2017 (Dkt. No. 121),
                                                                         26   Plaintiffs’ filed a Motion for Award of Damages for trademark infringement on
                                                                         27   April 7, 2017. The hearing on that Motion was held before the Honorable Stephen
                                                                         28   V. Wilson, United States District Court Judge, presiding, on May 15, 2017.
                                                                              28219-00007/2806287.2                     2               [PROPOSED] FINAL JUDGMENT
                                                 Case 2:16-cv-05810-SVW-MRW Document 148 Filed 06/08/17 Page 3 of 3 Page ID #:2563



                                                                         1             The Court, in an Order dated May 30, 2017 (Dkt. No. 146), granted
                                                                         2    Plaintiffs’ Motion for Award of Damages in the amount of $2,458,835.20.
                                                                         3             NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED
                                                                         4    that:
                                                                         5             1.        Pursuant to the Court’s Orders of January 25, 2017 (Dkt. No. 97),
                                                                         6    February 15, 2017 (Dkt. No. 188), February 22, 2017 (Dkt. No. 122), and May 30,
                                                                         7    2017 (Dkt. No. 146), judgment is entered against Defendant JJ and in favor of
                                                                         8    Plaintiffs on Plaintiffs’ First, Second, Third, Fourth, and Sixth Claims for Relief.
                                                                         9              2.       Plaintiffs are awarded damages in the amount of $2,829,994.36, which
                                                                         10    consists of:
GREENBERG GLUSKER FIELDS CLAMAN




                                                                         11                      a.      $371,159.16 in unpaid royalties awarded pursuant to the Court’s
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12                              Orders of January 25, 2017 (Dkt. No. 97) and February 22, 2017
       & MACHTINGER LLP




                                                                         13                              (Dkt. No. 122); and
                                                                         14                      b.      $2,458,835.20 awarded as a measure of damages for JJ’s
                                                                         15                              trademark infringement pursuant to the Court’s Order of May
                                                                         16                              30, 2017 (Dkt. No. 146).
                                                                         17             3.       As the prevailing parties, pursuant to Fed. R. Civ. P. 54(d)(1),
                                                                         18    Plaintiffs are entitled to recover prejudgment costs from JJ in the amount of
                                                                               To be determined by
                                                                         19    ______________,
                                                                               Application to Tax Costs pursuant to a separately filed Memorandum of Costs.
                                                                         20             4.       Pursuant to Fed. R. Civ. P. 54(d)(2), Plaintiffs are entitled to recover
                                                                         21    their reasonable attorney’s fees and related nontaxable expenses from JJ in the
                                                                                                To be determined by
                                                                         22    amount of ______________,
                                                                                          Motion for Attorneys Fees pursuant to a separately filed motion.


                                                                         23             5.       Pursuant to the Court’s Order on February 15, 2017 (Dkt. No. 118), all
                                                                         24    of Defendant’s Counterclaims are dismissed with prejudice.
                                                                         25             6.       Plaintiffs’ Fifth, Seventh, Eighth, and Ninth Claims for Relief are
                                                                         26    dismissed without prejudice.
                                                                         27             IT IS SO ORDERED.
                                                                         28    DATED: June 8, 2017
                                                                                                                                   H
                                                                                                                                   Hon. S
                                                                                                                                        Stephen
                                                                                                                                            h V  V. Wil
                                                                                                                                                    Wilson
                                                                              28219-00007/2806287.2                                United States District Court Judge

                                                                                                                               3                [PROPOSED] FINAL JUDGMENT
